      Lates
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                              ! . .

                                                                   -     7   . 41

                REVISED                       CHARTER

                                         AND




                          ORDINANCES
                                    OF        THE




        CITY OF LOCKPORT

                PRINTED   BY AUTHORITY    OF THE COJIMON       COUNCIL

                                  OF   The City .



                                         --    -   -    -- -




                          LOCKPORT
                                                       , N . Y.


                                 AUGUST ,          1913.
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                336                           PENAI, ORDINANCES

                of sixteen years, to allow or permit any such child or ward
                to go or be            in or upon      any street,        alley, park or other
                public places, within the time prohibited in section one of
                this ordinance, unless there exists a reasonable necessity
                therefor.
                      Sec. 3.     Curfew bell.        Two strokes of the fire alarm bell
                shall be given by the police from police headquarters, at
                the appointed time, as a warning, to be called the "Curfew
                Hell," after which            a   child is required to         be   in his or   her
                home or off the streets.

                      Sec.   4.    Penalty.       Any policeman, constable or peace
                off1cer, is hereby authorized          to arrest any such minor vio
                lating any of the provisions of section one of this ordinance,
                and for the first violation               to take     such child to his home
                and notify his parents or guardian of said violation, ami of
                the penalty if again arrested; upon any subsequent viola-
                lion of the provisions of this ordinance, said parents or
                guardian shall           be   lined    One Dollar ($1.00)
                                                      not less than
                nor more than Five Dollars ($5.00) : and if it shall appear
                that said child or minor person for want of proper parental
                care is growing up in mendicancy or vagrancy, or is incor
                 rigible, such proceedings shall be had and taken as author
                 ized and provided by law in such cases.

                      Sec.   5.   This ordinance shall           take effect immediatelv.




                                       PENAL ORDINANCE NO. 35.
                                         CONCEALED               WEAPON.
                                               (Adopted   Dec.   7, lflOlt.)


                 The common council of the city of Lockport                         do ordain    as
                      follows :
                      Section     1.   Concealed weapon.             No person over the age
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         of 16 years shall have or carry concealed upon his person,
         in said city, any pistol, revolver, or other firearm without
         a written license therefor, theretofore issued to him by the
         chief of *>olice of such city as hereinafter provided.

             Sec. 2.   Permit.     The chief of police may, upon applica
         tion therefor,    issue    to any person, who is over             sixteen
         years of age and a citizen of the United States,              a permit    in
         writing to carry a pistol or revolver in said city.             For such
         permits so issued said chief of police shall charge and re
         ceive a fee of one dollar and fifty cents in advance. Said
         permit shall not continue in force for more than one year,
         and may, in the discretion of the chief of police, be revoked
         or renewed from time to time upon the payment in advance
         of one dollar and fifty cents for each year, or fraction
         thereof.      The chief of police shall keep          a    record of the
         name,  age, residence and occupation of every person to
         whom he shall issue such permit, and date of issue, or
         renewal, and the fee received for the same ; and all the
         fees so received by him shall be deposited monthly in the
         city treasury to the credit and for the use of the police pen
         sion fund of said city.       Any permit issued hereunder shall
         be produced       and     exhibited   by   any    person holding         the
         same, upon the request         of a member       of the police depart
         ment of said city.

             Sec. 3.   Penalty.     Any person violating           any of the pro
         visions of this ordinance shall be guilty of a misdemeanor
         and shall be punishable by a fine not to exceed                 fifty dol
         lars, or imprisonment not to exceed six months, or by both
         such    fine and imprisonment.         And all fines imposed and
         collected for a violation of this section shall be deposited
         to the credit of said pension fund by the person so collect
         ing the same.

             Sec. 4.    This ordinance shall take         effect immediately.
